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   17
   18                  UNITED STATES DISTRICT COURT FOR THE
   19                    CENTRAL DISTRICT OF CALIFORNIA
   20
   21 DOMINIC ARCHIBALD, et al..              Case No. 5:16-cv-01128 –AB-SPx
   22                   PLAINTIFFS,           [Honorable André Birotte Jr.]
   23            vs.                          [PROPOSED] JUDGMENT
   24 COUNTY OF SAN BERNARDINO,
      et al..
   25
   26                   DEFENDANTS.
   27
   28
                                             -1-               Case No. 5:16-cv-01128 –AB-SPx
                                    [PROPOSED[ JUDGMENT
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    1                              [PROPOSED] JUDGMENT
    2        This action came regularly for trial on March 6 2018 in Courtroom 7C of the
    3 United States District Court, Central District of California, Honorable André Birotte
    4 Jr., presiding. Plaintiff Dominic Archibald was represented by attorneys Dale K.
    5 Galipo, Hang D. Le, and Marcel F. Sincich of the Law Offices of Dale K. Galipo,
    6 James S. Terrell of the Law Office of James S. Terrell, and Sharon J. Brunner of the
    7 Law Office of Sharon J. Brunner. Plaintiff Nathanael Pickett, I (aka Nathaniel
    8 Pickett, I) was represented by Robert D. Conaway of the Law Office of Robert D.
    9 Conaway. Defendants County of San Bernardino and Kyle Woods were represented
   10 by Vincent C. Ewing of Alvarez-Glasman & Colvin.
   11        A jury of eight persons was regularly empaneled and sworn. Witnesses were
   12 sworn and testified. After hearing the evidence and arguments of counsel, the jury
   13 was duly instructed by the Court and the case was submitted to the jury. The jury
   14 deliberated and thereafter returned a verdict as follows:
   15                                      LIABILITY
   16 QUESTION 1: Did Deputy Woods unreasonably detain or arrest Nathanael
   17 Pickett, II?
   18                                         YES ____X_____           NO ___________
   19
   20 If you answered “yes” to Question 1, please proceed to Question 2.
   21 If you answered “no” to Question 1, please proceed to Question 3.
   22
   23 QUESTION 2: Was the unreasonable detention or arrest a cause of Nathanael
   24 Pickett, II’s injury, damage, harm, or death?
   25                                         YES ____X_____           NO ___________
   26
   27 Please proceed to the next question.
   28
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    1 QUESTION 3: Did Deputy Woods use excessive or unreasonable force against
    2 Nathanael Pickett, II?
    3                                        YES ____X_____              NO ___________
    4
    5 If you answered “yes” to Question 3, please proceed to Question 4.
    6 If you answered “no,” please proceed to Question 5.
    7
    8 QUESTION 4: Was Deputy Woods’ use of excessive or unreasonable force a
    9 cause of Nathanael Pickett, II’s injury, damage, harm, or death?
   10                                        YES ____X_____           NO ___________
   11
   12 Please proceed to the next question.
   13 QUESTION 5: Did Deputy Woods unreasonably delay Nathanael Pickett, II from
   14 obtaining needed medical care?
   15                                        YES ___X______           NO ___________
   16
   17 If you answered “yes” to Question 5, please proceed to Question 6.
   18 If you answered “no” to Question 5, please proceed to Question 7.
   19
   20 QUESTION 6: Was the unreasonable delay in obtaining needed medical care a
   21 cause of Nathanael Pickett, II’s injury, loss, damages, harm, or death?
   22                                        YES ____X_____           NO ___________
   23
   24 Please proceed to the next question.
   25 //
   26 //
   27 //
   28 //
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                                       [PROPOSED[ JUDGMENT
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    1 QUESTION 7: Did Deputy Woods violently cause harm to Nathanael Pickett, II to
    2 prevent him from exercising his right not to be unreasonably detained or
    3 unreasonably arrested?
    4                                        YES ___X______           NO ___________
    5
    6 Please proceed to the next question.
    7
    8 QUESTION 8: Was Deputy Woods negligent?
    9                                        YES ____X_____           NO ___________
   10
   11 If you answered “yes” to Question 8, please proceed to Question 9.
   12 If you answered “no” to Question 8, please proceed to Question 13.
   13 If you answered “no” to Questions 1, 3, 5, 7, and 8, please sign and return this
   14 form.
   15
   16 QUESTION 9: Was Deputy Woods’s negligence a cause of Nathanael Pickett, II’s
   17 death?
   18                                        YES ____X_____           NO ___________
   19
   20 Please proceed to the next question.
   21
   22 QUESTION 10: Was Nathanael Pickett, II negligent?
   23                                        YES __________          NO ___X_______
   24
   25 If you answered “yes” to Question 10, please proceed to Question 11.
   26 If you answered “no” to Question 10, please proceed to Question 13.
   27 //
   28 //
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    1 QUESTION 11: Was Nathanael Pickett, II’s negligence a cause of his death?
    2                                            YES __________         NO ___________
    3
    4 Please proceed to the next question.
    5 QUESTION 12: What percentage of responsibility for Nathanael Pickett, II’s death
    6 do you assign to the negligent conduct, if any, of the following?
    7                            Deputy Woods                             _____________%
    8                            Nathanael Pickett, II                    _____________%
    9                            TOTAL                                                  100 %
   10
   11 QUESTION 13: Was the conduct of Deputy Woods malicious, oppressive or in
   12 reckless disregard of Nathanael Pickett, II’s rights?
   13                                            YES ____X_____           NO ___________
   14
   15                                      DAMAGES
   16 QUESTION 1: What are Nathanael Pickett, II’s damages for his loss of enjoyment
   17 of life, and for his pre-death pain and suffering?
   18                                                    $__________7 million____________
   19 Please proceed to the next question.
   20
   21 QUESTION 2: What are Plaintiff Dominic Archibald’s damages for past and future
   22 loss of Nathanael Pickett, II’s love, companionship, comfort, care, assistance,
   23 protection, affection, society, and moral support?
   24                                   Past:            $ _________2.5 million___________
   25
   26                                   Future:          $ _________4 million_____________
   27
   28                                   Total:           $ _________6.5 million____________
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    1 Please proceed to the next question.
    2
    3 QUESTION 3: What are Plaintiff Nathanael Pickett, I’s damages for past and
    4 future loss of Nathanael Pickett, II’s love, companionship, comfort, care, assistance,
    5 protection, affection, society, and moral support?
    6                                   Past:            $ ___________1 million____________
    7
    8                                   Future:          $ ___________1 million ___________
    9
   10                                   Total:           $ ___________2 million____________
   11
   12 QUESTION 4: What amount of punitive damages, if any, do you award?
   13                      Dominic Archibald:            $ __________14 million____________
   14
   15                      Nathanael Pickett, I:         $ __________4 million_____________
   16
   17         IT IS NOW THEREFORE ORDERED, ADJUDGED AND DECREED that
   18 final judgment in this action be entered as follows:
   19         1.    Judgment in the sum of $24,000,000 plus costs, interest and attorneys’
   20 fees is entered against Defendants Kyle Woods and the County of San Bernardino in
   21 favor of plaintiff Dominic Archibald.
   22         2.    Judgment in the sum of $9,500,000 plus costs, interest and attorney’s
   23 fees is entered against Defendants Kyle Woods and the County of San Bernardino in
   24 favor of plaintiff Nathanael Pickett, I (aka Nathaniel Pickett, I).
   25         3.    Plaintiffs request that the Court award treble damages as to the
   26 $7,000,000 jury verdict award for Nathanael Pickett, II’s damages as part of this
   27 judgment pursuant California Civil Code §§ 52, 52.1. See Bolbol v. City of Daly
   28 City, 654 F. Supp. 2d 1095, 1117 (N.D. Cal. 2010) (citing Cuviello v. City of
                                                   -6-                 Case No. 5:16-cv-01128 –AB-SPx
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    1 Oakland, 2010 WL 3063199 (N.D. Cal. Aug. 3, 2010); see also Spinks v. Country of
    2 Los Angeles, 2011 WL 12217540, at *6 (C.D. Cal. Nov. 8, 2011). Judgment of
    3 treble damages in the sum of $_________________ is entered against Defendants
    4 Kyle Woods and the County of San Bernardino in favor of plaintiffs Dominic
    5 Archibald and Nathanael Pickett, I (aka Nathaniel Pickett, I).
    6        4.     The total judgment in favor of plaintiffs is $33,500,000 on the jury
    7 verdict, plus treble damages in the amount of $________________, plus costs,
    8 interest and attorneys’ fees as prevailing parties at trial pursuant to 42 U.S.C. § 1988
    9 and California Civil Code §52.1.
   10
   11
   12 IT IS SO ORDERED.
   13 DATED:
   14
   15
   16                                          HONORABLE ANDRÉ BIROTTE JR.
                                               U.S. DISTRICT COURT JUDGE
   17
   18
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                                        [PROPOSED[ JUDGMENT
